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Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &       FOR COURT USE ONLY
Email Address


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 Individual appearing without attorney
 Attorney for Plaintiff Jerry Namba, Chapter 7
Trustee

                                        UNITED STATES BANKRUPTCY COURT
                                CENTRAL DISTRICT OF CALIFORNIA - NORTHERN DIVISION


In re:                                                                       CASE NO.: 9:23-bk-10601-RC
                                                                             CHAPTER: 7
AMPERSAND PUBLISHING, LLC dba SANTA                                          ADVERSARY NO.: 9:23-ap-01067-RC
BARBARA NEWS-PRESS,

                                                              Debtor(s)

JERRY NAMBA, Chapter 7 Trustee,

                                                             Plaintiff(s),   NOTICE OF LODGMENT OF ORDER OR
                                   vs.                                       JUDGMENT IN ADVERSARY PROCEEDING
                                                                             RE: (title of motion1): MOTION FOR LEAVE
715 ANACAPA, LLC, a California limited liability                             TO AMEND COMPLAINT
company; and 725 KELLOGG, LLC, a California limited
liability company,

                                                            Defendant.




PLEASE TAKE NOTE that the order or judgment titled ORDER GRANTING TRUSTEE'S MOTION FOR LEAVE TO
AMEND COMPLAINT was lodged on August 7, 2024 and is attached. This order relates to the motion which is docket
number 33.




1
    Please abbreviate if title cannot fit into text field
         This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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                            EXHIBIT A
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 7 Attorneys for Plaintiff Jerry Namba,
   Chapter 7 Trustee
 8

 9                                  UNITED STATES BANKRUPTCY COURT
10                                   CENTRAL DISTRICT OF CALIFORNIA
11                                            NORTHERN DIVISION
12 In re                                                      Case No. 9:23-bk-10601-RC

13 AMPERSAND PUBLISHING, LLC dba                              Chapter 7
   SANTA BARBARA NEWS-PRESS,
14
             Debtor.
15

16 JERRY NAMBA, Chapter 7 Trustee,                            Adv. No. 9:23-ap-01067-RC

17                     Plaintiff,                             ORDER GRANTING TRUSTEE’S
                                                              MOTION FOR LEAVE TO AMEND
18            vs.                                             COMPLAINT
19 715 ANACAPA, LLC, a California limited                     Date:     August 7, 2024
   liability company; and 725 KELLOGG, LLC,                   Time:     9:00 a.m.
20 a California limited liability company,                    Place:    Courtroom 201
                                                                        1415 State Street
21                     Defendants.                                      Santa Barbara, California 93101

22

23            On August 7, 2024, at the above date and time, a hearing was held on Plaintiff Jerry Namba’s, the
24 Chapter 7 trustee for the bankruptcy estate of Ampersand Publishing, LLC (“Plaintiff”), Motion (the

25 “Motion”) for Leave to Amend Complaint (Docket No. 33), the Honorable Ronald A. Clifford, III, United

26 States Bankruptcy Judge, presiding. Appearances by counsel were as stated on the record.

27            The Court having read and considered the Motion, the Opposition filed by Defendants 715 Anacapa,
28 LLC and 725 Kellogg, LLC (Docket No. 36), and the Reply in Support of Trustee’s Motion for Leave to

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 1 Amend Complaint (Docket No. 37), having posted a detailed tentative ruling (the “Tentative Ruling”), and

 2 having heard the oral arguments of counsel at the hearing, it is hereby,

 3 ORDERED THAT:

 4            1.       The Tentative Ruling is adopted as the Court’s final ruling;

 5            2.       The Motion is granted in full;

 6            3.       The Trustee is ordered to file his proposed amended complaint by August 16, 2024.

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                                   PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is
1901 Avenue of the Stars, Suite 450, Los Angeles, CA 90067-6006.

A true and correct copy of the foregoing document entitled: NOTICE OF LODGMENT OF ORDER OR
JUDGMENT IN ADVERSARY PROCEEDING will be served or was served (a) on the judge in chambers in the
form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling
General Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the
document. On August 7, 2024 I checked the CM/ECF docket for this bankruptcy case or adversary proceeding
and determined that the following persons are on the Electronic Mail Notice List to receive NEF transmission at
the email addresses stated below:



                                                                               Service information continued on attached page.

2. SERVED BY UNITED STATES MAIL:
On August 7, 2024 , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States
mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that
mailing to the judge will be completed no later than 24 hours after the document is filed.



                                                                               Service information continued on attached page.

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state
method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)
                     , I served the following persons and/or entities by personal delivery, overnight mail service, or
(for those who consented in writing to such service method), by facsimile transmission and/or email as follows.
Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be
completed no later than 24 hours after the document is filed.



                                                                               Service information continued on attached page.

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.



 August 7, 2024                          Beverly Lew                                          /s/ Beverly Lew
 Date                                    Printed Name                                         Signature




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                                          ADDITIONAL SERVICE INFORMATION (if needed):


1. SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”)

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Zachary Truman Elsea on behalf of Defendant 725 Kellogg, LLC, a California limited liability
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United States Trustee (ND)
ustpregion16.nd.ecf@usdoj.gov




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